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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                CORPUS CHRISTI DIVISION

ASHLAND ARENAS, JASON VILLAREAL,                           §
CEDRIC CAMP and JOE ROJAS                                  §
on behalf of themselves and all                            §
others similarly situated,                                 §
                                                           §
                     Plaintiffs,                           §
                                                           § CIVIL ACTION NO: 2:16-cv-119
       vs.                                                 §
                                                           §
                                                           §
WESTERN TRANSPORTATION, INC.                               §
COASTLINE TRANSPORTATION, INC.,                            §
R BLAKE SANDFORD and L K JORDAN &                          §
ASSOCIATES INC                                             §
                                                           §
                     Defendants.                           §

 PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’
                    THIRD AMENDED COMPLAINT
                          [Jury Trial Demanded]

       Plaintiffs Ashland Arenas, Jason Villareal, Cedric Camp, and Joe Rojas, on behalf of

themselves and all others similarly situated, file this response to Defendants’ Motion to Dismiss

Plaintiffs’ Third Amended Complaint and respectfully show the Court the following:

                                     I. INTRODUCTION

       Defendants bring their motion arguing for dismissal despite explicit facts in Plaintiffs’

Third Amended Complaint that thoroughly describe Plaintiffs’ Fair Labor Standards Act claim

and more than satisfy Federal Rules of Civil Procedure 8(a), Twombly and Iqbal.

                                       II. ARGUMENT

             A. Plaintiffs’ Motion for Leave to Amend

       In their Motion to Dismiss Plaintiffs’ Third Amended Complaint, Defendants

surprisingly accuse Plaintiffs of attempting to mislead the Court into somehow believing that

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Defendants were not going to challenge Plaintiff’s complaint. It is unclear how the filing of a

Court authorized Motion for Leave to Amend which was filed only after conferring with

opposing counsel was distorted in such a manner so as to suggest improper conduct by Plaintiffs.

Simply put, such an accusation in unwarranted and should be disregarded.

           B. Standard of Review

       Motions to dismiss for failure to state a claim carry an exceedingly high standard of

review, are disfavored by the courts, and are rarely granted. Lowery v. Texas A&M Univ. Sys.,

117 F.3d 242, 247 (5th Cir. 1997); Beanal v. Freeport-McMoran, Inc., 197 F.3d 161, 164 (5th

Cir. 1999); Clontz v. Life Insurance Co. of North America, 2009 WL 1491203 *1, (N.D. Tex.

May 28, 2009) (citing Priester v Lowndes County, 354 F.3d 414, 418 (5th Cir. 2004)). A motion

to dismiss should only be granted if there is no issue of material fact and if the pleadings show

that the moving party is entitled to prevail as a matter of law. Clontz at *1.

       Twombly and Iqbal require facial plausibility for a pleading to be sufficient. “To survive

a motion to dismiss, a complaint must contain sufficient factual matter, accepted as true, to ‘state

a claim to relief that is plausible on its face.’” Clontz at *1 (citing Ashcroft v. Iqbal, 556 U.S.

662, 129 S.Ct. 1937 (2009) (quoting Twombly at 570)). The Supreme Court clarified in Iqbal that

“a claim as facial plausibility when the plaintiff pleads factual content that allows the court to

draw a reasonable inference that the defendant is liable for the misconduct alleged.” Id. The

court “must accept the factual allegations in the pleading as true” and must liberally construe the

claims in the light most favorable to the plaintiff. Clontz at *1 (citing Doe v. Myspace, Inc., 528

F.3d 413, 418 (5th Cir. 2008) and Iqbal at 1949-50). When plaintiff has well pleaded factual

allegations, “a court should assume their veracity and then determine whether they plausibly give

rise to an entitlement to relief. Iqbal at 1949-50. This standard “calls for enough fact to raise a


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reasonable expectation that discovery will reveal evidence of the necessary claims or elements.”

Morgan v. Hubert, 2009 WL 1884605, *3 (5th Cir. July 1, 2009) (unpublished) (citing In re So.

Scrap Material Co., 541 F.3d 584, 587 (5th Cir. 2008) (quoting Twombly, 550 U.S. at 556)).

       Plaintiffs are not required to plead particularized facts in support of each element of their

prima facie case; as Twombly clarified, “the complaint warranted dismissal because it failed in

toto to render plaintiff’s entitlement to relief plausible.” Twombly at 569 n. 14; see also Gulf

Coast Motel Ass’n v. Mississippi Gulf, 658 F.3d 500, 506 (5th Cir. 2011) (finding that, while

certain allegations standing alone fell short, the complaint “read as a whole” satisfied the

standards enunciated in Twombly and Iqbal).

           C. Plaintiffs have standing to bring suit against all Defendants

       Defendants claim that Plaintiffs lack standing and seek dismissal of Plaintiffs’ Complaint

because Plaintiffs allegedly have not properly plead that each Plaintiff was employed by each

Defendant. Defendants mistakenly suggest/demand specific individual allegations as to every

opt-in, which is contrary to the purpose of a collective action. Defendants cite to one case1

regarding standing, Martin v. BMS Enters., Inc.2. Martin v. BMS Enters., Inc., No. 3:09-CV-

2159-D, 2010 U.S. Dist. LEXIS 66050 (N.D. Tex. July 1, 2010). However, Martin is

distinguishable from this instant matter because in Martin, Plaintiff included additional employer

defendants who were employers of putative class members only and not Plaintiff. The court in

Martin went on to state that “[p]laintiffs cannot establish standing by pointing to an injury that a

1

       Defendants cite to In re FEMA Trailer Formaldehyde Prods. Liab. Litig. as well;
however, this case is not on point because it deals with product liabilities claims and wholly
misses the mark of the joint-employer liability doctrine. In re FEMA Trailer Formaldehyde
Prods. Liab. Litig., 570 F. Supp. 2d 851, 856 (E.D La. 2008)
2

       Defendants incorrectly cited this case as Lucas v. BMS Enters., Inc.
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defendant caused to a putative class member [only].” Id. at *6-7. That is clearly not the case

here. Each named Plaintiff has standing and asserts a claim against one or more of the named

Defendants. Plaintiffs do not seek to introduce Defendants who solely employed putative class

members. In Martin, the Plaintiffs argued that they had standing merely because defendants

constituted a single enterprise but failed to allege any connection between the enterprise and

defendants' status as an employer. The instant Plaintiffs do not suggest that the existence of a

single enterprise is by itself sufficient, but rather, they assert that Defendants collectively

constitute a "joint employer" for the purposes of the FLSA thereby making them Plaintiffs’

“employer(s)” as that term is understood in the context of the FLSA. Accordingly, Plaintiffs have

standing to bring suit against all Defendants as joint employers.

           D. The broad definition of “employer” under the FLSA

       Courts adhere to the firmly established principle that the FLSA must be liberally

construed to effectuate Congress’ remedial intent. Donovan v. Sabine Irrigation Co., 695 F.2d

190, 194 (5th Cir. 1983) (In determining “employer” status under the FLSA, “we adhere to the

firmly-established guidon that the FLSA must be liberally construed to effectuate Congress’

remedial intent.”); Donovan v. I-20 Motels, Inc., 664 F.2d 957, 959 (5th Cir. 1981) (“The FLSA

is to be liberally construed to provide broad coverage.”). In particular, the Fifth Circuit has long

recognized that the “remedial purposes of the FLSA require that the courts define ‘employer’

more broadly than the term should be interpreted in traditional common law applications.”

McLaughlin v. Seafood, Inc., 861 F.2d 875, 877 (5th Cir. 1989) (emphasis added).

       Most litigation in this area centers on whether other entities and individuals, besides the

defendant corporation, also meet the definition of “employer” under the Fair Labor Standards

Act and may be held jointly and severally liable for unpaid overtime along with the obvious


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employer. Donovan v. Sabine Irrigation Co., 695 F.2d 190, 194 (5th Cir. 1983). The Fifth

Circuit has defined a court’s task as “to transcend traditional concepts of the employer-employee

relationship and address the economic realities presented by the facts of each case.” Id. at 195.

           E. A joint employer/employee relationship exists

       Defendants have also mistakenly claimed that Plaintiffs have not properly pled the

existence of a joint employer/employee relationship. However, Plaintiffs have clearly alleged

that there exists a common ownership between Defendants Western Transportation, Inc.,

Coastline Transportation, Inc. and R Blake Sandford, and Plaintiffs have further alleged that

Defendant L K Jordan & Associates, Inc. acted in the interests of an employer by providing

payroll services and human resource services to Plaintiffs.

       Under the Fifth Circuit’s economic realities test, to determine whether defendant is an

employer, the court must consider who “(1) possessed the power to hire and fire the employees,

(2) supervised and controlled employee work schedules or conditions of employment, (3)

determined the rate and method of payment, and (4) maintained employment records.” Williams

v. Henagan, 595 F.3d 610, 620 (5th Cir. 2010).           An employee may also have multiple

simultaneous employers under the FLSA. Falk v. Brennan, 414 U.S. 190, 195 (1973). Where

such is the case, “all joint employers are responsible, both individually and jointly, for

compliance with all of the applicable provisions of the act.” 29 CFR § 791.2. It is not necessary

that each element of the economic realities test be present in every case, and the courts must

review the totality of the circumstances. Gray v. Powers, 673 F.3d 352, 357 (5th Cir. 2012). “No

one factor is dispositive; rather, it is incumbent upon the courts to transcend traditional concepts

of the employer-employee relationship and assess the economic realities presented by the facts of

each case.” Sabine Irrigation Co., 695 F.2d at 195.


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       Whether a person or corporation is an employer or joint employer is essentially a

question of fact. See Boire v. Greyhound Corporation, 376 U.S. 473 (1964); Wirtz v. Lone Star

Steel Co., 405 F.2d 668, 699 (5th Cir. 1968); Chao v. Barbeque Ventures, LLC, No. 8:06-cv-676,

2007 U.S. Dist. LEXIS 91397, at *17 (D. Neb. Dec. 12, 2007) (“[w]hether two [or more]

companies constitute a single enterprise for purposes of the [FLSA] and whether they are liable

as joint employers under § 207, are technically separate issues. However, the factual

considerations may be the same or very similar.”) Additionally, the FLSA broadly defines

“employ” as “suffer or permit to work.” 29 U.S.C. § 203(g). In fact, the Fifth circuit has noted

that the FLSA uses the term “employee . . . in the broadest sense ever . . . included in any act. “

Robicheaux v. Radcliff Material, Inc., 697 F.2d 663, 665 (5th Cir. 1983).

       Courts routinely find that a temporary staffing agency is a joint employer under the

FLSA. See Beltre v. Lititz Healthcare Staffing Solutions, LLC 757 F. Supp. 2d 373 (S.D.N.Y.

2010) (denying Defendant staffing agency’s Motion to Dismiss because Plaintiffs’ allegations

that they were ‘employed directly by Lititz’ and that Lititz was a ‘joint employer []’ of Plaintiffs

do that well enough.”); Jackson v. Fannie Mae, 181 F. Supp. 3d 1044, 1054 (2016) (“A business

that utilizes staffing agencies may be deemed a joint employer of the staffing agency’s

employees.); Butler v. Drive Automotive Industries of America, 793 F.3d 404, 410 (4th Cir.

2015)("the joint employment doctrine also recognizes the reality of changes in modern

employment, in which increasing numbers of workers are employed by temporary staffing

companies that exercise little control over their day to day activities") (applying the joint

employer doctrine in a Title VII case); United States Department of Labor, Administrator’s

Interpretation No. 2016-1, Joint Employment Under the Fair Labor Standards Act and migrant

and      Seasonal       Agricultural      Worker        Protection      Act       (available      at


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https://www.dol.gov/whd/flsa/Joint_Employment_AI.htm) (last accessed February 1, 2017)

(advising that the economic realities test should be used to determine if a staffing agency and

another employer are joint employers).

       At this stage, the court need only examine whether allegations of relevant facts are

sufficient to state an employment or joint employment relationship under the FLSA.

       Plaintiffs have indeed pleaded sufficient facts to support the inference that each Plaintiff

was employed or jointly employed by one or more Defendants.               In their Third Amended

Complaint, Plaintiffs specifically point out which Defendant or Defendants employed each

Plaintiff and opt-in Plaintiff. Plaintiffs also allege that Defendants are under common ownership

and management, had interrelated operations and had centralized control over labor relations.

[D.E. 57, p. 9]. Plaintiffs allege that Defendant R Blake Sandford, as President and owner of the

Initial Defendants, exhibited control over, supervised, and had the right to hire and fire Plaintiffs

and opt-in Plaintiffs. [D.E. 57, p. 13]. Defendant L K Jordan & Associates, Inc., while providing

human resources services, hired and fired Plaintiffs who provided work services to the other

named Defendants. [D.E. 57, p. 14]. It is through the providing of these employer/human

resource services that Defendants jointly supervised and controlled employee work schedules or

conditions of employment, determined the rate and method of each Plaintiff’s compensation, and

maintained employment records. Id. Plaintiffs correctly alleged that Defendants were collectively

joint employers under the FLSA. [D.E. 57, p. 9].

       Plaintiffs go on to allege that each Plaintiff was engaged in commerce during his

employment with Defendants. [D.E. 57, p. 15]. It is certainly plausible that each Defendant is an

enterprise engaged in commerce, as that term is defined in 29 U.S.C. § 203(r), and therefore,

jointly and severally liable to Plaintiffs as their employers under the FLSA. It is clear from


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Plaintiffs’ Complaint that Defendants engaged in the hiring and firing of Plaintiffs, supervised

the work Plaintiffs performed, determined the rate of pay each Plaintiff was to receive, refused to

properly compensate Plaintiffs in accordance with the FLSA, and maintained employment

records through human resources. Accordingly, Plaintiffs have met the relatively low threshold

of pleading requirements under Iqbal, Twombly, and Williams.

           F. Class determinations should not be made at this stage

       Defendants seek to dismiss Plaintiffs’ class allegations because Plaintiffs allegedly have

not proven that they are similarly situated to the class they seek to represent. Each representative

Plaintiff represents one or more of the job titles Plaintiffs seek to represent, and each

representative Plaintiff was employed by one or more of the Defendants. Defendants’ challenge

to the collective action is premature and not proper for a rule 12(b)(6) motion. See Hoffman v.

Cemex, Inc., No. H-09-3144, 2009 U.S. Dist. LEXIS 114130, at *4 (S.D. Tex. Dec. 8, 2009)(“the

plaintiffs need not plead facts to support the propriety of a collective action to survive a Rule

12(b)(6) motion.”). The collective nature of this action is more properly challenged when

Plaintiffs move for conditional certification and issuance of notice to the class. Therefore, the

Court should reserve ruling on that issue until Plaintiffs move for class certification and

Defendants have filed an Answer.

       G. Defendants are on notice that they are being sued for FLSA untimely payment
          violations

       Plaintiffs have made it clear in their Complaint that they were on more than one occasion

paid late. Plaintiffs are not in control of their paystubs from their employment and therefore are

unable to state specifically which weeks they were paid late and how late they were paid. To

establish the details that Defendants believe are missing from Plaintiffs’ complaint, Defendants

should seek such details through discovery. Plaintiffs have clearly pleaded above and beyond the

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minimum threshold pleading requirements set forth in Federal Rules of Civil Procedure 8 and

Iqbal.

         H. In the alternative, Plaintiffs request that Defendant L K Jordan & Associates, Inc. be
            dismissed only

         While Plaintiffs believe that all Defendants are proper parties to this litigation, should this

Court find that Plaintiffs have not properly pleaded that Defendant L K Jordan & Associates Inc.

is a proper joint employer, Plaintiffs ask that this Court dismiss them only.

         I. To the extent of dismissal of Plaintiffs’ claims is warranted, such dismissal should be
            without prejudice

         Plaintiffs respectfully request that if the Court finds that dismissal is warranted, that any

such dismissal be without prejudice, since Plaintiffs represent a not-yet-defined class of

employees who should not be prejudiced from making claims they have that the Court finds the

current named Plaintiffs lack standing to allege. See, e.g. Self v. TPUSA, Inc., 2:08-CV-395-

PMW, 2009 WL 273326, at *2 (D. Utah Feb. 4, 2009) (Georgia state law claims dismissed, but

without prejudice so that, if plaintiffs from Georgia later join the action, they may move for leave

to include any relevant state-law claims).

         J. Defendants’ request for sanctions should be denied

         An award of attorney’s fees under 28 U.S.C. § 1927 “requires evidence of bad faith,

improper motive, or reckless disregard of the duty owed to the court.” Lawyers Title Ins. Corp. v.

Doubletree Partners, L.P., 739 F.3d 848, 871 (5th Cir. 2014). The Fifth Circuit expounded on

the standard for sanctions under § 1927 as follows:

         In awarding fees under this provision, “[t]he district court must make detailed
         factual findings.” Specifically, the court is required to “(1) identify sanctionable
         conduct and distinguish it from the reasons for deciding the case on the merits, (2)
         link the sanctionable conduct to the size of the sanctions, and (3) differentiate


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       between sanctions awarded under different statutes.” Further, punishment under §
       1927 is “sparingly applied.” This court has held that sanctions under § 1927 are
       “punitive in nature and require clear and convincing evidence” that sanctions are
       justified. “An unsuccessful claim is not necessarily actionable.” Section 1927
       sanctions should be employed “only in instances evidencing a serious and
       standard disregard for the orderly process of justice,” lest “the legitimate zeal of
       an attorney in representing [a] client [be] dampened.”

Id. at 871-72 (internal citations omitted). Unlike Rule 11 sanctions, which have a lower

reasonableness standard, Section 1927 requires a higher showing of subjective bad faith or

reckless conduct.

       Lawyers Title Ins. Corp. discusses the kind of conduct that is not sanctionable under

Section 1927. There, property owners sued their title insurance company for breach of insurance

contract, but also brought common law bad faith claims, statutory bad faith claims under the

Texas Insurance Code, and claims under the Texas DTPA. 739 F.3d at 869. To support a § 1927

motion, the title insurance company only put forth evidence that the property owners’ claims

lacked merit, and although the Court upheld the dismissal of those claims, it also held that

awarding § 1927 sanctions based on evidence of a meritless claim was an abuse of discretion. Id.

at 871-73.

       Defendants have not demonstrated the type of bad faith required or much the less any bad

faith so as to justify an award under § 1927. They failed to provide the required clear and

convincing evidence that Plaintiffs’ counsel had any improper motive or exercised “a serious and

standard disregard for the orderly process of justice.” Defendants have provided insufficient

evidence that Plaintiffs’ counsel’s conduct in naming them in this lawsuit was both unreasonable

and vexatious. There was a factual basis supporting the legal theories of a single integrated

enterprise and horizontal joint employment, based on the interconnectedness between


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Defendants.

        Plaintiffs’ counsel always believed and still continue to believe that the claims they

asserted against all Defendants are meritorious, and Plaintiffs’ counsel certainly never had any

improper motive for pursuing those claims. (Id., ¶ 5.) See Lawyers Title Ins. Corp. 739 F.3d at

872 (holding that the magistrate judge abused his discretion in awarding fees because the

evidence “[a]t most” showed that the unsuccessful “claims lack merit, which is not a sufficient

basis for awarding sanctions attorneys,” and the unsuccessful attorneys “sincerely believed” their

claims were meritorious). Rather, Plaintiffs’ counsel’s only motives were to zealously pursue

Plaintiffs’ interests.

                                           CONCLUSION

        Wherefore, for the above and foregoing reasons, Plaintiffs respectfully request that

Defendants’ Motion to Dismiss and request for sanctions be denied in its entirety, and in the

event this Court finds that Defendant L K Jordan & Associates Inc. is not a joint employer,

Plaintiffs request that this Court dismiss Defendant L K Jordan & Associates Inc. only and award

Plaintiffs all further and additional relief to which they are entitled.




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                                              Respectfully submitted,

                                              By: /s/ James M. Loren, Esq.
                                              James M. Loren
                                              Attorney-in-charge
                                              S.D. Tex. Bar No.: 2656541
                                              George Z. Goldberg
                                              S.D. Tex. Bar No.: 2659719
                                              Rachael Rustmann
                                              TX Bar No. 24073653
                                              GOLDBERG & LOREN, PA
                                              3102 Maple Ave, Suite 500
                                              Dallas, Texas 75201
                                              Main Phone: 800-719-1617
                                              Facsimile:     (954) 585-4886
                                              jloren@lorenlaw.com
                                              ggoldberg@goldbergdohan.com
                                              rrustmann@goldbergloren.com
                                              Attorneys for Plaintiff


                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically
filed on February 2, 2017 with the Clerk of Court using CM/ECF along with having served all
counsel of record or pro se parties identified on the service list incorporated herein in the manner
specified, either via transmission of Electronic filing generated by CM/ECF or in some other
authorized manner for those counsel or parties not authorized to receive electronically Notice of
Electronic Filing.

                                              /s/ Rachael Rustmann
                                              Rachael Rustmann, Esquire
                                              Texas Bar No.: 24073653
                                              Co-Counsel for Plaintiffs
SERVICE LIST
Edward M. “Ted” Smith
State Bar No. 00791682
tsmith@cornellsmith.com
Andrew J. Broadaway
State Bar No. 24082332
abroadaway@cornellsmith.com
CORNELL SMITH MIERL
& BRUTOCAO, LLP
1607 West Avenue
Austin, Texas 78701

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Kimberly R. Miers
Texas State Bar No. 24041482
kmiers@littler.com
Earl M. (Chip) Jones, III
Texas State Bar No. 00790982
ejones@littler.com
Jessica E. Anderson
Texas State Bar No. 24082629
jeanderson@littler.com
LITTLER MENDELSON, P.C.
2001 Ross Avenue
Suite 1500, Lock Box 116
Dallas, TX 75201-2931

Keith B. Sieczkowski
Texas State Bar No. 18341650
ksieczkowski@branscombpc.com
BRANSCOMB P.C.
802 North Carancahua, Suite 1900
Corpus Christi, TX 78401




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